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                      United States District Court
                        District of Massachusetts

                                 )
EDWARD REYNOSO, individually and )
on behalf of all others          )
similarly situated,              )
                                 )          Civil Action No.
          Plaintiff,             )          17-11607-NMG
                                 )
          v.                     )
                                 )
LASERSHIP, INC. and BLAKE        )
AVERILL,                         )
                                 )
          Defendants.            )
                                 )

                           MEMORANDUM & ORDER

GORTON, J.

      Plaintiff Edward Reynoso (“plaintiff” or “Reynoso”) brings

this purported class action against LaserShip, Inc.

(“LaserShip”) and its Chief Executive Officer (“CEO”), Blake

Averill (collectively “defendants”), for alleged violations of

the Massachusetts Wage Act and Massachusetts overtime laws.

Reynoso contends that LaserShip classifies its employees as

independent contractors in order to avoid paying overtime wages.

      Pending before the Court is LaserShip’s motion to dismiss

or, in the alternative, to transfer venue to the United States

District Court for the Eastern District of Virginia pursuant to

28 U.S.C. § 1404(a).      For the reasons that follow, the motion

will be allowed and the case will be transferred.



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   I. Background

          A.Factual and Procedural Background

        LaserShip, a package delivery company, is a Delaware

corporation with its principal place of business in Virginia.

Defendant Blake Averill is CEO of the company and resides in the

Washington D.C. metropolitan area.        Reynoso, a Massachusetts

resident, was a professional owner-operator providing equipment

and labor services to LaserShip from November, 2012, to May,

2017.    In May, 2017, the parties executed an Independent

Contractor Agreement (“Agreement”) which governed the terms and

conditions of their business relationship.         That Agreement

superseded independent contractor agreements previously entered

into between the parties in January, 2014, August, 2014 and

March, 2016.    The Agreement contains a merger clause stating

that it supersedes any and all other agreements between the

parties.    It also includes a mandatory forum selection clause as

follows:

        Choice of Forum. The parties agree that any legal
        proceedings between the parties arising from, in connection
        with, or relating to this Agreement or arising out of, in
        connection with or relating in any way to any prior
        agreements between the parties, any current or prior
        relationship between the parties, any other dealings
        between the parties, or to any aspect of the relationship
        between the parties to this Agreement, whether under
        federal, state, local, or foreign law, shall be brought
        exclusively in Vienna, Virginia, or in the nearest location
        in Virginia where such proceedings can be maintained.
        LaserShip and Contractor hereby consent to the jurisdiction
        and venue of such fora.

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        Throughout his employment with the company, Reynoso was

responsible for delivering packages for LaserShip and was paid

according to the number of deliveries he made.          LaserShip

assigned Reynoso certain routes, set his schedule, prevented him

from delivering for any other company, required him to drive a

white van and provided him with a uniform bearing the LaserShip

logo.    LaserShip also required Reynoso to report to the

warehouse for each day of work by 8:30 a.m. to retrieve packages

and to call the warehouse at the end of the day to confirm that

the routes were complete.       Reynoso asserts that he, and others

similarly situated, have been misclassified as independent

contractors and that there was an employer-employee relationship

between LaserShip and those providing equipment and labor

services to LaserShip.

        Reynoso also alleges that as a result of that

misclassification, he and other delivery drivers have suffered

damages and incurred expenses that should have been paid by

LaserShip, such as expenses for gasoline, vehicle maintenance

and payroll taxes.     Further, Reynoso and other drivers regularly

worked more than 40 hours per week and, because paystubs did not

include all hours worked, Reynoso and others similarly situated

suffered lost wages.

        Reynoso brought this action in Massachusetts Superior Court

for Middlesex County asserting claims individually and on behalf

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of others similarly situated for 1) misclassification as

independent contractor in violation of the Wage Act, M.G.L. c.

149, §§ 148B & 150 (“the Wage Act”), 2) nonpayment of overtime

wages in violation of the Massachusetts Overtime Law, M.G.L. c.

151, §§ 1A & 1B, 3) nonpayment of earned overtime wages in

violation of M.G.L. c. 149, §§ 148 & 150, 4) failure to maintain

proper payroll records in violation of M.G.L. c. 149, § 148,

M.G.L. c. 151, § 15 and 454 CMR 27.02(2) and 5) unjust

enrichment.    LaserShip timely removed the case to this Court on

diversity grounds.

       LaserShip moves to dismiss or to transfer venue (Docket No.

12).   For the foregoing reasons, that motion will be allowed.

   II. Legal Analysis

          A.Legal Standard

       The Supreme Court has held that the appropriate mechanism

to enforce a forum-selection clause is through a motion to

transfer under 28 U.S.C. § 1404(a). Atl. Marine Constr. Co. v.

U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 58-59

(2013).    Under § 1404(a), a district court may transfer a civil

action to any other district where it might have been brought

       [f]or the convenience of parties and witnesses, in the
       interest of justice.

The Court expressly declined to consider whether a motion to

dismiss for failure to state a claim under Rule 12(b)(6) is a


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proper alternative for enforcement of a forum-selection clause.

Id. at 580.    In this Circuit, a valid forum-selection clause can

also be enforced through a Fed. R. Civ. P. 12(b)(6) motion.

Claudio-de Leon v. Sistema Universitario Ana G. Mendez, 775 F.3d

41, 46 (1st Cir. 2014) (“[A]bsent a clear statement from the

Supreme Court to the contrary, the use of Rule 12(b)(6) to

evaluate forum selection clauses is still permissible in this

Circuit.”).

      Normally, while the decision to transfer a case under

§ 1404(a) lies solely within the discretion of the trial court,

there is a presumption in favor of the plaintiff's choice of

forum. Momenta Pharm., Inc. v. Amphastar Pharm., Inc., 841 F.

Supp. 2d 514, 522 (D. Mass. 2012).

      [U]nless the balance is strongly in favor of the defendant,
      a plaintiff's choice of forum should rarely be disturbed.

Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947).

      Nevertheless, the Court in Atlantic Marine held that the

calculus fundamentally changes when the parties’ contract

contains a valid forum-selection clause. 571 U.S. at 62; see

also Rivera v. Centro Medico de Turabo, Inc., 575 F.3d 10, 18

(1st Cir. 2009) (citing M/S Bremen v. Zapata Off–Shore Co., 407

U.S. 1, 10, 15 (1972) (forum-selection clauses are “prima facie

valid”)). The Supreme Court has emphasized that




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      enforcement of valid forum-selection clauses, bargained for
      by the parties, protects their legitimate expectations and
      furthers vital interests of the justice system.

Atl. Marine, 571 U.S. at 63 (citation omitted).

      The Atlantic Marine decision shifted the § 1404(a) analysis

in three ways in cases where the contract contains a valid

forum-selection clause. Id.       First, the plaintiff's choice of

forum “merits no weight”. Id.       Second, the district court

“should not consider arguments about the parties’ private

interests”. Id. at 64.      Only public interest factors can be

considered, however those factors “will rarely defeat a transfer

motion”. Id.    Third, when a plaintiff who is contractually

obligated to file suit in a specific forum flouts that duty, a

transfer of venue under § 1404(a) “will not carry with it the

original venue's choice-of-law rules.” Id. at 64-65 (noting that

the opposite would only “encourage gamesmanship” and give an

unwarranted “privilege” to a plaintiff's choice of forum).

         B.Analysis

      LaserShip moves to dismiss Reynoso’s claims pursuant to

Fed. R. Civ. P. 12(b)(6) or, in the alternative, to transfer

venue pursuant to 28 U.S.C. § 1404(a).         Reynoso admits the forum

selection clause exists, but responds that it is against public

policy because it does not allow Massachusetts residents to

bring claims pursuant to Massachusetts law and is therefore

unenforceable.

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            1. Motion to Dismiss

      LaserShip first moves to dismiss Reynoso’s claim for

failure to state a claim under Rule 12(b)(6).          Although Rule

12(b)(6) remains a proper vehicle to seek enforcement of a forum

selection clause in this Circuit,         a district court should

“ordinarily” use § 1404(a) to enforce a forum-selection clause

that identifies a federal forum for the convenience of the

parties and in the interest of justice. Atl. Marine, 571 U.S. at

62.

      The forum-selection clause in the Agreement does not

require that action be brought in the Eastern District of

Virginia.    Instead, it states that any legal proceeding under

federal law will be brought in Vienna, Virginia or the nearest

location in Virginia in which the proceeding can be maintained.

That language indicates that the parties have agreed to bring

any federal actions in the Eastern District of Virginia because

it encompasses Vienna, Virginia. See Herbert H. Landy Ins.

Agency, Inc. v. Navigators Mgmt. Co., Inc., No. 14-12552-FDS,

2014 WL 3908179, at *5 (D. Mass. August 8, 2014) (holding that

the proper district for federal actions was the Southern

District of New York pursuant to a forum-selection clause that

made New York, New York the proper forum for disputes).

      Because (1) the Supreme Court has held that a district

court should “ordinarily” rely upon § 1404(a) to enforce a

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forum-selection clause and (2) the appropriate federal district

for venue can be determined by the forum-selection clause,

obviating the need for plaintiff to refile if the case is

transferred pursuant to § 1404(a), this Court will proceed to

consider defendants’ motion to transfer pursuant to § 1404(a).

See Atl. Marine, 571 U.S. at 62.

            2. Motion to Transfer

      LaserShip contends that the forum-selection clause in the

Agreement should be enforced because there is no public interest

warranting a refusal to transfer, the forum selection clause

encompasses the claims brought in this action and the forum-

selection clause is mandatory, as opposed to permissive.

Reynoso responds by suggesting that the forum-selection clause

is invalid because it effectively waives rights under the Wage

Act in violation of the anti-waiver provision.          He also rejoins

that the forum-selection clause is invalid because it

contravenes Massachusetts public policy.

      The analysis established in Atlantic Marine warrants

enforcement of the forum-selection clause and transfer pursuant

to § 1404(a).    First, the fact that Reynoso filed this action in

Massachusetts is entitled to no weight. Atl. Marine, 571 U.S. at

63.   Next, contrary to Reynoso’s contention, there is no public

interest consideration sufficient to render this an “unusual

case” warranting a decision not to transfer in the face of a

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forum-selection clause. Id. at 64.        Upon transfer to the proper

federal forum, here the Eastern District of Virginia, that

district will apply the choice-of-law rules of Virginia.

       Enforcement of the forum-selection clause in the

Agreement does not constitute a waiver of Reynoso’s rights under

the Wage Act.    Plaintiff’s contention that Virginia courts will

decline to apply Massachusetts law, effectively allowing the

forum-selection clause to operate as a waiver of rights, is

unavailing.    First, although the Wage Act

       does embody fundamental public policy, nothing in the Wage
       Act’s text or structure suggest that enforcement must
       always be available in Massachusetts.

Melia v. Zenhire, Inc., 462 Mass. 164, 169 (2012).           The

prohibition of waivers in the Wage Act does not require that

private claims brought under the Wage Act be adjudicated in

Massachusetts. Id. at 171.       To rebut the presumption that a

forum-selection clause is enforceable with respect to Wage Act

claims, a party must show (1) the Wage Act applies, (2) the

selected forum’s choice-of-law rules would select a law other

than Massachusetts and (3) the application of the law would

deprive the employee of rights guaranteed by the Wage Act. Id.

at 181.

       The plaintiff has failed to demonstrate that the transferee

Court would apply choice-of-law rules contrary to Massachusetts

law.   Virginia courts will set aside choice of law provisions

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where application of the law of the chosen state would be

adverse to a fundamental policy of a state which has a

materially greater interest than the chosen state. See Zaklit v.

Global Linguist Sols., LLC, 2014 WL 3109804, at *21 (E.D. Va.

July 8, 2014) (citing Malpractice Research, Inc. v. Norman, 24

Va. Cir. 118, 119 (Va. Cir. Ct. 1991)) (“[A] Virgina Court can

decline to honor a choice-of-law provision if application of the

chosen law will usurp a statutory claim that is a fundamental

policy of a state which has a materially greater interest in the

litigation.”).

      In a similar putative class action, brought in

Massachusetts state court and later transferred to the Eastern

District of Virginia, the transferee court determined that,

notwithstanding a valid choice-of-law provision in the

independent contractor agreement, Massachusetts law would apply

to plaintiffs’ claims because the underlying contracts were made

and performed in Massachusetts and Massachusetts “ha[d] a policy

interest in the subject matter of the case”. Sanchez v.

LaserShip, Inc., 2012 WL 3730636, at *7 (E.D. Va. Aug. 27, 2012)

(citing Erie Ins. Exch. v. Shapiro, 248 Va. 638 (Va. 1994))

(holding that both Virginia and Massachusetts choice-of-law

required the application of Massachusetts law in that case).

      Reynoso has not met his burden of demonstrating that

Virginia’s choice-of-law rules would select a law other than

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Massachusetts.     Accordingly, the forum-selection clause does not

operate as a “special contract” that would impermissibly waive

rights under the Wage Act and the motion to transfer will be

allowed.

   III. Arbitration Provision

      LaserShip also moves, in the alternative, to dismiss

Reynoso’s claims on the theory that Reynoso is required to

arbitrate under the Agreement’s mandatory arbitration clause.

Reynoso responds that the class/joinder waiver in the

arbitration clause is unlawful because it contravenes Section 7

of the National Labor Relations Act, 29 U.S.C. §§ 151 et seq.

Although plaintiff’s argument has since been rejected by the

United States Supreme Court, Epic Sys. Corp. v. Lewis, 138 S.

Ct. 1612, 1632 (2018), because this Court cannot compel

arbitration in another forum under the Federal Arbitration Act,

9 U.S.C. § 4, Ansari v. Qwest Commc’ns Corp., 414 F.3d 1214,

1219-20 (10th Cir. 2005) (collecting cases), it is appropriate

instead to transfer the case.

   IV. Defendants’ Request for Fees and Costs

      LaserShip moves for fees, costs and damages associated with

this motion to transfer pursuant to 28 U.S.C. § 1927, contending

that plaintiff’s counsel refused to transfer the action to

Virginia voluntarily despite the advice of defendants’ counsel



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with respect to the forum-selection and arbitration clauses of

the Agreement.

      Plaintiff’s counsel has not complicated the proceedings so

unreasonably or vexatiously as to require his payment of fees

and penalties. See 28 U.S.C. § 1927.         Although plaintiff’s

public policy argument is tenuous and nullification of a forum-

selection clause is disfavored, counsel did not display a

“serious and studied disregard for the orderly process of

justice”. See Cruz v. Savage, 896 F.2d 626, 632 (1st Cir. 1990)

(explaining that a showing of negligence, inadvertence or

incompetence is not enough to warrant the imposition of

sanctions).

      Courts generally reserve sanctions for cases where

attorneys pursue frivolous and time-consuming arguments

unsupported by fact or law. See Cruz 896 F.2d at 633 (holding

that the litigation of one due process claim was “a vexatious,

time consuming exercise which bore no fruit” because counsel

ignored the due process claim and used the trial to appeal an

administrative hearing); see also Cronin v. Town of Amesbury, 81

F.3d 257, 262 (1st Cir. 1996) (holding that attorney’s failure

to articulate any reasoned basis for why the District Court

erroneously dismissed his claim needlessly multiplied the

proceedings and warranted the imposition of sanctions).



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Plaintiff has not acted with such disdain and sanctions will not

be imposed.


                                    ORDER


      For the foregoing reasons, defendants’ motion to dismiss or

transfer venue (Docket No. 12) is ALLOWED and the case is

transferred to the Eastern District of Virginia.



So ordered.


                                       /s/ Nathaniel M. Gorton_____
                                        Nathaniel M. Gorton
                                       United States District Judge

Dated June 22, 2018




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